Case 2:15-ml-02668-PSG-SK Document 583-1 Filed 07/29/22 Page 1 of 2 Page ID #:9850



    1    Hannah Cannom (SBN 245635)
         hcannom@wscllp.com
    2    Bethany Stevens (SBN 245672)
         bstevens@wscllp.com
    3    WALKER STEVENS CANNOM LLP
         500 Molino Street, Suite 118
    4    Los Ángeles, CA 90013
         Phone: (213) 712-9145
    5    Fax: (213) 403-4906
    6    Attorneys for Non-Party Apple Inc.
    7
    8

    9
                            UNITED STATES DISTRICT COURT
   10
                          CENTRAL DISTRICT OF CALIFORNIA
   11
   12   IN RE: NATIONAL FOOTBALL               Case No. 2:15-ml-02668-PSG (JEMx)
        LEAGUE’S “SUNDAY TICKET”
   13   ANTITRUST LITIGATION                   [PROPOSED] ORDER GRANTING
                                               NON-PARTY APPLE INC.’S
   14   THIS DOCUMENT RELATES TO               APPLICATION UNDER LOCAL
        ALL ACTIONS                            RULE 79-5 TO SEAL PORTIONS
   15                                          OF ITS STATEMENT
                                               REGARDING PLAINTIFFS’
   16                                          MOTION TO TAKE LIMITED
                                               DISCOVERY AFTER THE
   17                                          DEADLINE FOR FACT
                                               DISCOVERY
   18
                                               Judge: Hon. Philip S. Gutierrez
   19
                                               Discovery Cutoff Date: 8/5/2022
   20                                          Pretrial-Conference Date: 2/9/2024
                                               Trial Date: 2/22/2024
   21
   22
   23
   24
   25
   26
   27
   28
Case 2:15-ml-02668-PSG-SK Document 583-1 Filed 07/29/22 Page 2 of 2 Page ID #:9851



    1           Pending before the Court is non-party Apple Inc.’s Application Under Local
    2   Rule 79-5 to Seal Portions of Its Statement Regarding Plaintiffs’ Motion to Take
    3   Limited Discovery After the Deadline for Fact Discovery.
    4           IT IS HEREBY ORDERED that the following documents are to be filed under
    5   seal:
    6           1.    The unredacted version of Non-Party Apple Inc.’s Statement
    7                 Regarding Plaintiffs’ Motion to Take Limited Discovery After the
    8                 Deadline for Fact Discovery;
    9           2.    The unredacted Declaration of Bethany Stevens in Support of Non-
   10                 Party Apple Inc.’s Statement Regarding Plaintiffs’ Motion to Take
   11                 Limited Discovery After the Deadline for Fact Discovery (“Stevens
   12                 Declaration”);
   13           3.    Exhibit A to the Stevens Declaration; and
   14           4.    Exhibit B to the Stevens Declaration.
   15
   16
                IT IS SO ORDERED.

   17
   18   Dated: ______________________                 ___________________________
   19                                                 The Hon. Philip S. Gutierrez
   20                                                 United States District Judge
   21
   22
   23
   24
   25
   26
   27
   28

                                                  1
